USDC IN/ND case 2:08-cr-00111-RL-PRC     document 50    filed 12/31/08   page 1 of 2


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF INDIANA
                        HAMMOND DIVISION


UNITED STATES OF AMERICA            )
                                    )
Plaintiff,                          )
                                    )
vs.                                 )        CAUSE NO. 2:08-CR-111
                                    )
JOHN DOE, a/k/a Samuel              )
Munoz, a/k/a Jorge                  )
Quientero,                          )
                                    )
Defendant.                          )



                                    ORDER


      This   matter   is   before      the   Court     on   the   Findings     and

Recommendation of the Magistrate Judge Upon a Plea of Guilty by

Defendant John Doe a/k/a Samuel Munoz a/k/a Jorge Quientero (DE

#40) filed on December 9, 2008.         No objections have been filed to

Magistrate Judge Cherry’s findings and recommendations upon a plea

of guilty.    Accordingly, the Court now ADOPTS those findings and

recommendations, ACCEPTS the guilty plea of Defendant John Doe

a/k/a Samuel Munoz a/k/a Jorge Quientero, and FINDS the Defendant

guilty of Counts 1, 2, 3 and 4 of the Indictment, in violation of

Title 18 U.S.C. § 2113(a); Title 18 U.S.C. § 924(c)(1)(A)(iii);

Title 18 U.S.C. §922(g)(5)(A); and Title 8 U.S.C. §1325(a).
USDC IN/ND case 2:08-cr-00111-RL-PRC     document 50   filed 12/31/08   page 2 of 2


       This matter is set for sentencing on March 19, 2009, at 12:30

p.m.



DATED:    December 31, 2008                  /s/RUDY LOZANO, Judge
                                             United States District Court




                                       -2-
